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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

 GARY HENSON, Special Personal
 Representative of the Estate of
 SANDRA HENSON, Deceased                                     PLAINTIFF

 vs.                         No. 4:21-cv-294-DPM

 ROSS STORES, INC.;
 ROSS DRESS FOR LESS, INC.;
 and JOHN DOE NOS. 1-2                                  DEFENDANTS

                         PROTECTIVE ORDER
       1.   This   Agreed    Confidentiality   and    Protective   Order
 ("Protective Order") shall govern the designation and handling of all
 confidential documents and information produced in this action by any
 party, non-party, person, or entity.
       2.   Any party or third party who is required to produce
 documents or disclose information in this case (the "Producing Party")
 may designate as "Confidential" any non-public material that the
 Producing Party believes, in good faith, contains information related to
 a trade secret, proprietary business information, non-public financial
 information, personal information, including social security numbers,
 confidential research/ or any other information subject to a legally
· protected right to privacy ("Confidential Information").
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     3.    Designation of Confidential Information shall be made at or
prior to the time of production of documents by stamping or marking
the documents as "Confidential" in a location that makes the
designation readily apparent or by otherwise reasonably apprising all
counsel of such designation. Such a designation reflects a good faith
determination by counsel that the material falls within the definition of
Confidential Information under this Protective Order. The production
of Confidential Information shall not be construed as an admission or
agreement that any specific information is or is not subject to discovery
or admissible in evidence. Nothing in this Protective Order requires
the production of any documents or things or constitutes a waiver of
objections to the discoverability of any documents or things.
     4.    The inadvertent delivery of documents and information that
could properly be designated as "Confidential" shall be without
prejudice to the Producing Party.
     5.    Deposition testimony may be designated as "Confidential,"
in whole or in part, within fifteen (15) days after receipt of the written
transcript by the designating party.      Until that time, all deposition
testimony shall be treated as confidential to permit counsel an
opportunity to designate the deposition testimony as confidential.
     6.    Confidential Information shall not be used for any purpose
other than the defense or prosecution of this action in accordance with
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the provisions of this Protective Order and shall not be discussed or
disclosed to any person except as specifically authorized by this
Protective Order. Any documents, information, deposition testimony,
or other material subject to this Protective Order shall not be used or
disclosed, directly or indirectly, by any party for any business,
commercial or competitive purpose whatsoever.
     7.   Confidential Information shall be disclosed only to:
             a. The Court and its staff in this case and in any appeal
                therefrom;
             b. The named parties in this litigation, including officers
                and representatives of corporate parties;
             c. Counsel of record for the parties in this case, including
                in-house counsel responsible for the litigation;
             d. Partners, associates, secretaries, paralegals, and other
                such personnel employed or retained by or working
                under the supervision of said counsel who are actively
                engaged in assisting such counsel in this action;
             e. Outside consultants and expert witnesses (whether
                designated as trial witnesses or not) employed or
                retained by the parties or counsel and who are actively
                engaged in assisting counsel or parties in this action;


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                 f. Any other person or entity as to whom counsel for the
                    producer or provider of the Confidential Information
                    agree in writing or on the record, or whom the Court
                    direct shall have access to such information; and
                 g. During depositions in this       action, any person
                    identified as an author of a designated document, or
                    any person who received or otherwise possessed a
                    copy of such document prior to its production in this
                    action.
      8.       This Protective Order is directed to pretrial discovery,
subject to any further order as this Court may enter regarding
confidentiality of Confidential Information used in a hearing or trial in
this action.
      9.       A party or any other person objecting to the designation of
Confidential Information shall provide written notice of the objection
to the designating party, specifying the materials that are the subject of
the objection. Within thirty days after such objection, the parties and
any other objecting person(s) shall confer in good faith, and in person,
to resolve the objections. If the parties reach an impasse, they must file
a joint report explaining the disagreement. The parties will file this
paper under the CM/ECF event called "Joint Report of Discovery
Dispute". The joint report must not exceed ten pages, excluding the
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style and signature block. Each side gets five pages. The joint report
must be filed sufficiently before the discovery cutoff so that the dispute
can be resolved without undermining pretrial deadlines. The parties
will alert the law clerk on the case to the joint report's filing. The parties
will not proceed until the Court issues a ruling or schedules a hearing.
     10.   Nothing in this Protective Order shall be construed to
govern or affect the admissibility or use of any Confidential
Information or any document that is privileged or subject to the work
product doctrine at trial or hearing in open court. Any requests of
confidentiality or sealing of any hearing or trial is to be made to the
judge presiding over that proceeding.
     11.   The terms of this Protective Order shall be binding on the
parties to this lawsuit and their respective attorneys.
     12.   In the event of a proven violation of this Protective Order by
any party or recipients of information designated Confidential
Information, the offending party or person understands that he or she
may, in the discretion of the Court, suffer the imposition of such
sanctions as the Court deems appropriate.
     13.   This Order shall remain in effect for one year after this case
ends, including any appeal. Thereafter, the obligations imposed shall
continue, but shall be solely a matter of contract between the parties.
Upon termination of this case, the parties shall return to their respective
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counsel    all   confidential   documents,    material,   and   deposition
transcripts, along with any copies of those materials. Alternatively, the
parties may destroy the materials and certify to counsel that they have
been destroyed.      Counsel for the parties may retain confidential
information in their files, subject to this Order.
     14.    The parties must comply with Fed. R. Civ. P. 5.2's mandate
for redaction if practicable before any filing under seal. If an entire page
contains information designated as "Confidential," substituting a page
marked "Redacted" is an acceptable redaction method. If redaction is
impracticable, a party must move for permission to file any information
designated as "Confidential" and a related motion, brief, or paper,
containing that material under seal. The moving party must justify
sealing document by document, with specifics and solid reasons,
including an explanation about why redaction cannot be done.
     So Ordered.




                                          D.P. Marshall Jr.
                                          United States District Judge




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Approved for Entry,

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